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                                          THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE EASTERN DISTRICT OF TEXAS
                                                  TEXARKANA DIVISION

IN RE:                                                         §
                                                               §
MIKE AHLERS                                                    §         CASE NO. 19-50152-R
XXX-XX-5911                                                    §
1063 CR 3320                                                   §         CHAPTER 13
MT. PLEASANT, TX 75455                                         §
                                                               §
SONDRA AHLERS                                                  §
XXX-XX-9352                                                    §
                                                               §
DEBTORS                                                        §


                              TRUSTEE’S RECONCILIATION CONCERNING CLAIMS
                      (WITH NOTICE OF BAR DATE FOR ADDITIONAL OBJECTIONS TO CLAIMS)



                                                                   I.

    NOTICE OF DEADLINE for filing Objections to Claims , Setting Value of Collateral, and Challenging Validity of any
                                                Security Interest:

YOU ARE NOTIFIED that, pursuant to LBR 3015(g), the deadline for: (1) filing an objection to the allowance of any proof of
claim filed in this case; (2) filing a motion for valuation of collateral to determine the amount of a secured claim filed in this case
pursuant to Rule 3012; or (3) filing an appropriate pleading to avoid or otherwise challenge the validity of any security interest
claimed in any proof of claim filed in this case , is the twenty-first (21st) day following the date of service of this document .


                                                                II.
                                            Trustee’s Reconciliation Concerning Claims :

 A. Purpose of the Trustee’s Reconciliation Concerning Claims (“TRCC” herein): The time for filing claims in this
 proceeding has expired. The Trustee has reviewed all of the claims filed in this proceeding and compared such to the terms of the
 confirmed Plan. The purposes of the TRCC are as follows:

          1. To reconcile the terms of the confirmed Chapter 13 Plan with the claims as actually filed by the Creditors and/or filed
          by other parties pursuant to the provisions of 11 U.S.C. 501;

          2. To set forth herein her proposed disbursements of plan payments to the creditors and their claims as a result of this
          reconciliation as reflected in the attached Schedules; and

 3. To give notice to the parties of interest the result of this reconciliation and the Trustee’s recommended disbursements of plan
 payments.

 B. Attached Schedules: Attached hereto are Schedules setting forth the manner the claims as filed herein will be treated under
 the terms of the confirmed Chapter 13 Plan.




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 C. Things the TRCC does NOT or CANNOT Do: The TRCC does not or cannot do the following:

         1. Does NOT serve as a Modification of plan after confirmation under 11 U .S.C. 1329. The Trustee cannot add or delete
         the payment of a claim through the claims’ reconciliation process as reflected in the TRCC. Only a motion to modify can
         accomplish a modification of the plan after confirmation .

         2. Does NOT serve as an Objection to a Claim under 11 U .S.C. 502. Only an Objection to a claim filed in this case can
         serve for that purpose.

         3. Does NOT set or establish replacement value of collateral that is subject to valuation under 11 U .S.C. 506 (ie, cram
         down). Replacement value of such collateral may only be set by the terms of the confirmed plan, agreement of the parties ,
         an objection to a proof of claim, or motion for valuation. Since the Debtor (s)’ estimated replacement value is set forth in
         the terms of the confirmed Chapter 13 Plan, the TRCC will reflect that the Trustee will be paying the lessor of the secured
         amount of the underlying claim or the replacement value as set forth in the Chapter 13 Plan. If the secured amount as set
         forth in the Creditor’s proof of claim is greater than the Debtor (s)’ replacement value as set forth in the confirmed Chapter
         13 Plan and replacement value may not be otherwise set, the Trustee will note to pay the replacement value as set forth in
         the confirmed Plan but will also note that the Plan is infeasible and that the Trustee will generate a Motion to Dismiss if
         such is not otherwise resolved by the Debtor (s).

         4. Can NOT add for payment a priority claim that was not otherwise provided for under the terms of the confirmed
         Chapter 13 Plan. As noted above, the Trustee will note in her TRCC that such a claim is not in the Plan; that the Trustee
         will not pay the claim, and that the plan is infeasible which will cause the Trustee to generate a Motion to Dismiss if such
         is not otherwise resolved by the Debtor (s).

         5. Can NOT cure an underfunding issue with the terms of the confirmed Plan. The Trustee will note in her TRCC that
         such a Plan is infeasible in that there are not sufficient amount of funds in the plan base to pay all of the claims to be paid
         under the terms of the Plan and the Trustee will generate a Motion to Dismiss if such is not otherwise resolved by the
         Debtor(s).

 D. Subsequent Adjustments to the TRCC: The Trustee shall adjust her proposed disbursements as set forth in the TRCC as
 follows for the following events:

         1.   The entry of any subsequent claim objection order pertaining to a claim provided for in the confirmed Plan;

         2. The entry of any subsequent valuation order securing an allowed claim provided for in the confirmed Plan that is
         subjection to 11 USC 506 bifurcation;

         3. The filing of any amended proof(s) of claim filed herein pertaining to an allowed claim provided for in the confirmed
         Plan;

         4.   The withdrawal of any proof(s) of claim provided for in the confirmed plan;

         5. The entry of any subsequent order allowing for payment of any claim filed after the claims’ bar dates or by the
         provisions of 11 USC 1305;

         6. The termination of the automatic stay as to the property being provided for in the confirmed Plan as noted in Sections
         3.2, 3.3, and 3.4 of the confirmed Plan; and/or

         7.   Any approved Motion to Modify.




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                                                               III.
                         Trustee’s Claims Adjudication or Preliminary Notice of Infeasibility after TRCC

      The Trustee has made the preliminary determination as set forth below that the terms of the confirmed Chapter 13 Plan are
 either feasible or infeasible. The Trustee provides this information to the parties in interest for informational pruposes only and is
 not seeking, through the TRCC, a judicial finding that the plan is in fact feasible or not feasible. If the Trustee determines that the
 confirmed Plan is in fact infeasible, the Debtor (s) must address this infeasibility on the Plan within forty-five (45) days after the
 filing of this TRCC. In the event the infeasibility of the Plan is not timely addressed by the Debtor (s), the Trustee or other
 interested party may file a motion to dismiss the Debtor (s)’ bankruptcy case based upon this infeasibility .

 o The Trustee is of the opinion that the Plan is feasible and that all claims have been reconciled by the terms of this TRCC without
 the necessity of a motion to modify or other action by the Debtor (s).

 þ The Trustee is of the opinion that the confirmed Chapter 13 Plan is infeasible for one or more of the following reasons:

          o The replacement value of collateral subject to cram down as set forth in the terms of the confirmed Chapter 13 Plan
          does not fully provide for the payment of the secured value of the collateral as set forth in the applicable secured claim and
          this discrepancy has not been resolved by an agreement of the Debtor (s) and the affected creditor or by the entry of a Court
          Order setting value for said collateral .

          þ The proposed Chapter 13 Plan is underfunded in that the Plan Base is insufficient to allow the Trustee to pay in full all
          of the allowed claims as filed herein pursuant to the terms of the confirmed Chapter 13 Plan .

          þ     The proposed Chapter 13 Plan fails to provide for the full payment, in deferred cash payments, of all claims entitled
          to priority under 11 USC 507 as required under 11 USC 1322 (a)(2).



          o The proposed Chapter 13 Plan fails to provide sufficient funding for the unsecured creditors pool .

          o The proposed Chapter 13 Plan fails to meet the confirmed liquidation value .


                                                       Respectfully submitted,

                                                       /s/ Carey D. Ebert
                                                       Carey D. Ebert TBN 05332500
                                                       H. Jefferson LeForce TBN 00791094
                                                       Office of the Standing Chapter 13 Trustee
                                                       500 North Central Expressway, Suite 350
                                                       Plano, Texas 75074
                                                       (972) 943-2580




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                              Order of Payment (Section 9.2 of Plan)
                     Unless the Court orders otherwise, the Trustee shall make
                              Disbursements in the Following Order:
                    (1)   Trustee’s fees under Section 4.2 of the Plan upon receipt of plan payment
                    (2)   Adequate protection payments under Sections 3.3 and 3.4 of the Plan
                    (3)   Allowed attorney fees under Section 4.3 of the Plan
                    (4)   Secured claims under Sections 3.2, 3.3, and 3.4 of the Plan concurrently
                    (5)   DSO priority claims under Sections 4.4 and 4.5 of the Plan concurrently
                    (6)   Non-DSO priority claims under Section 4.6 of the Plan
                    (7)   Specially classed unsecured claims under Section 5.1 of the Plan
                    (8)   General unsecured claims under Section 5.2 of the Plan

                                        (Section 3.1 of Plan)
                              Post-Petition Home Mortgage Payments


 MORTGAGE LIENHOLDER             PROPERTY ADDRESS                                          MONTHLY PAYMENT
                                                                                              BY DEBTOR

 FIRST FEDERAL COMMUNITY         HOMESTEAD                                                              $1,458.00
 BANK
 630 CLARKSVILLE STREET
 PARIS, TX 75460                   TO BE PAID DIRECT BY DEBTOR




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                                 Schedule A (Section 3.2 of Plan)
                             Trustee to Cure Defaults (Arrears) and
                        Debtor(s) to Maintain Direct Payments Obligations
                                 CLAIM        CLAIM             CONFIRMED      INTEREST   MONTHLY
 CREDITOR
                                 NUMBER       AMOUNT            PLAN           RATE       PAYMENT
                                                                AMOUNT
 FIRST FEDERAL COMMUNITY                               $ 0.00      $7,000.00         -         $0.00
 BANK
 630 CLARKSVILLE STREET           REF: MORTGAGE ARREARS
 PARIS, TX 75460                  NO CLAIM FILED - CLAIM NOT TO BE PAID

 TITUS COUNTY APPRAISAL            1              $ 1,541.28       $1,541.28      12.00        $0.00
 DISTRICT
 PO BOX 528                       REF: PROPERTY TAXES - 2018
 MT PLEASANT, TX 75456-0528       TO BE PAID IN FULL

 TITUS COUNTY TAX COLLECTOR        2               $ 905.31         $905.31       12.00        $0.00
 110 S. MADISON SUITE A
 MT PLEASANT, TX 75455            REF: PROPERTY TAXES - 2018

                                  TO BE PAID IN FULL

 NORTHEAST TX COMM COLL DIST       8              $ 1,153.05       $1,153.05      12.00        $0.00
 2777 N. STEMMONS FREEWAY
 SUITE 1000                       REF: PROPERTY TAXES - 2018-2019
 DALLAS, TX 75207                 TO BE PAID IN FULL

 OVATION SERVICES LLC              12           $ 37,199.00       $37,199.00      10.90      $806.94
 8401 DATAPOINT SUITE 1000
 SAN ANTONIO, TX 78229            REF: 4 MOBILE HOMES - RENTED OUT ON HOMESTEAD LAND

                                  TO BE PAID IN FULL



                                     Schedule B (Section 3.3 of Plan)
                  Trustee to Pay Secured Claims Protected from Section §506 Bifurcation
                                     (Non-cram down “910 Claims”)
                                 CLAIM        CLAIM             CONFIRMED INTEREST        MONTHLY
 CREDITOR
                                 NUMBER       AMOUNT            PLAN      RATE            PAYMENT
                                                                AMOUNT
 OZARK RENTALS & INVESTMENTS       4              $ 9,745.78       $9,745.78         -         $0.00
 GROUP, LLC
 PO BOX 8805                      REF: JUDGMENT
 FAYETTEVILLE, AZ 72703           TO BE PAID IN FULL

 OZARK RENTALS & INVESTMENTS       3            $ 11,375.85       $11,375.85         -         $0.00
 GROUP, LLC
 PO BOX 8805                      REF: JUDGMENT
 FAYETTEVILLE, AZ 72703           TO BE PAID IN FULL




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                                   Schedule C (Section 3.4 of Plan)
                  Trustee to Pay Secured Claims Subject to Section §506 Bifurcation
                                (“506 Claims” subject to Cram down)
                                 CLAIM     CLAIM      CONFIRMED CREDITOR'S INTEREST       MONTHLY
 CREDITOR                        NUMBER    AMOUNT     PLAN      ASSERTED   RATE           PAYMENT
                                                      AMOUNT    VALUE
NONE




                                Schedule D (Section 3.5 of Plan)
            Direct Payments by Debtor of Secured Claims Not in Default on the Petition
                                   Date; Trustee will not pay
                                 CLAIM         CLAIM          CONFIRMED INTEREST          MONTHLY
 CREDITOR
                                 NUMBER        AMOUNT         PLAN      RATE              PAYMENT
                                                              AMOUNT
NONE


                                  Schedule E (Section 3.6 of Plan)
                       Debtor(s)’ Surrender of Property; Trustee will not Pay
                                 CLAIM         CLAIM          CONFIRMED INTEREST          MONTHLY
 CREDITOR
                                 NUMBER        AMOUNT         PLAN      RATE              PAYMENT
                                                              AMOUNT
NONE


                                   Schedule F (Section 3.9 of Plan)
                  Debtor(s)’ Lien Avoidance/Stripping (The Amount Avoided will be
                     Treated as an Unsecured Claim under Section 5.2 of Plan)
                                 CLAIM         CLAIM          CONFIRMED INTEREST          MONTHLY
 CREDITOR
                                 NUMBER        AMOUNT         PLAN      RATE              PAYMENT
                                                              AMOUNT

NONE


                                  Schedule G (Section 4.3 of Plan)
              Trustee to Pay “Allowed Balance” of Attorney’s Fees After AP Payments

                                 CLAIM         CLAIM          CONFIRMED INTEREST          MONTHLY
 CREDITOR
                                 NUMBER        AMOUNT         PLAN      RATE              PAYMENT
                                                              AMOUNT
 RODNEY MCDANIEL                                     $ 0.00     $3,000.00             -       $0.00
 ATTORNEY AT LAW
 4503 TEXAS BOULEVARD, SUITE C    REF: DEBTOR ATTORNEY
 TEXARKANA, TX 75503              TO BE PAID AS ADMINISTRATIVE; $500.00 PAID DIRECT




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                               Schedule H (Section 4.4, 4.5, and 4.6 of Plan)
                                 Trustee to pay Priority Claims as follows
                                    CLAIM         CLAIM          CONFIRMED INTEREST   MONTHLY
 CREDITOR
                                    NUMBER        AMOUNT         PLAN      RATE       PAYMENT
                                                                 AMOUNT
 INTERNAL REVENUE SERVICE             5             $ 3,530.71        $0.00      -        $0.00
 P. O. BOX 7317
 PHILADELPHIA, PA 19101-7317         REF: TAXES 2016-2018

                                     NOT PROVIDED FOR CURRENTLY




                                   Section I (Section 5.1 of Plan)
                     Treatment of Special Class Nonpriority Unsecured Claims
                                    CLAIM         CLAIM          CONFIRMED INTEREST   MONTHLY
 CREDITOR
                                    NUMBER        AMOUNT         PLAN      RATE       PAYMENT
                                                                 AMOUNT

NONE




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                                     Section J (Section 5.2 of Plan)
                               Treatment of Nonpriority Unsecured Claims
                                   CLAIM         CLAIM           CONFIRMED INTEREST   MONTHLY
 CREDITOR
                                   NUMBER        AMOUNT          PLAN      RATE       PAYMENT
                                                                 AMOUNT
 BANK OF AMERICA, N.A.               11             $ 8,404.93        $0.00      -        $0.00
 P. O. BOX 15102
 WILMINGTON, DE 19886               REF: CREDIT CARD

                                    TO BE PAID AS UNSECURED

 DIRECTV, LLC                        7               $ 365.08         $0.00      -        $0.00
 BY AMERICAN INFOSOURCE LP AS
 AGENT                              REF: SERVICES RENDERED
 PO BOX 5008                        TO BE PAID AS UNSECURED
 CAROL STREAM, IL 60197-5008

 INTERNAL REVENUE SERVICE            5             $ 12,686.71        $0.00      -        $0.00
 P. O. BOX 7317
 PHILADELPHIA, PA 19101-7317        REF: TAXES 2013-2015

                                    TO BE PAID AS UNSECURED

 JEFFERSON CAPITAL SYSTEMS,          10              $ 950.80         $0.00      -        $0.00
 LLC
 PO BOX 772813                      REF: TELECOM
 CHICAGO, IL 60677-2813             TO BE PAID AS UNSECURED

 KIMP-AM/KALK-FM/KSCH-FM/KSC         6              $ 4,730.00        $0.00      -        $0.00
 N-FM RADIO
 3355 LENOX RD NE SUITE 945         REF: SERVICES PERFORMED
 ATLANTA, GA 30326                  TO BE PAID AS UNSECURED

 NPRTO TEXAS, LLC                    9              $ 3,276.10        $0.00      -        $0.00
 256 WEST DATA DRIVE
 DRAPER, UT 84020                   REF: LEASE TO OWN

                                    TO BE PAID AS UNSECURED




                                  Schedule K (Section 6.1 of Plan)
                Executory Contracts and Unexpired Leases ASSUMED by Debtor(s)
             (All other Executory Contracts/Unexpired Leases Not Listed REJECTED)
                                   CLAIM         CLAIM           CONFIRMED INTEREST   MONTHLY
 CREDITOR
                                   NUMBER        AMOUNT          PLAN      RATE       PAYMENT
                                                                 AMOUNT
NONE




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                                            THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF TEXAS
                                                    TEXARKANA DIVISION

IN RE:                                                           §
                                                                 §
MIKE AHLERS                                                      §         CASE NO. 19-50152-R
XXX-XX-5911                                                      §
1063 CR 3320                                                     §         CHAPTER 13
MT. PLEASANT, TX 75455                                           §
                                                                 §
SONDRA AHLERS                                                    §
XXX-XX-9352                                                      §
                                                                 §
DEBTORS                                                          §


                                                      CERTIFICATE OF SERVICE


     This is to certify that a true and correct copy of the foregoing TRUSTEE’S RECOMMENDATION CONCERNING
CLAIMS(WITH NOTICE OF BAR DATE FOR ADDITIONAL OBJECTIONS TO CLAIMS ) has been served upon the following
parties in interest on or before the date set forth below by electronic mail and/or by mailing a copy of same to them via first class mail .
If no address is listed, no notice was sent to that party.

    MIKE AHLERS
    SONDRA AHLERS
    1063 CR 3320
    MT. PLEASANT, TX 75455

    RODNEY MCDANIEL
    ATTORNEY AT LAW
    4503 TEXAS BOULEVARD, SUITE C
    TEXARKANA, TX 75503


and to the parties on the attached mailing matrix.
Dated: August 11, 2020                                     /s/ Carey D. Ebert
                                                           Office of the Standing Chapter 13 Trustee




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  ATTORNEY GENERAL OF TEXAS              BANK OF AMERICA, N.A.              BANK OF AMERICA, N.A.
  COLLECTIONS DIV/ BANKRUPTCY            P O BOX 982284                     P. O. BOX 15102
 SECTION                                 EL PASO, TX 79998-2284             WILMINGTON, DE 19886
  PO BOX 12548
  AUSTIN, TX 78711-2548



  BOWIE COUNTY APPRAISAL DISTRICT        CASS CO APP DIST                   CMRE FINANCIAL SERVICES
  TAX ASSESSOR-COLLECTOR                 502 N MAIN                         3075 E. IMPERIAL HWY #200
  BOX 6527                               LINDEN, TX 75563                   BREA, CA 92821-6753
  TEXARKANA, TX 75505




  DIRECTV, LLC                            DIRECTV, LLC                      FIRST FEDERAL COMMUNITY BANK
  BY AMERICAN INFOSOURCE LP AS            BY AMERICAN INFOSOURCE LP AS      630 CLARKSVILLE STREET
 AGENT                                   AGENT                              PARIS, TX 75460
  4515 N SANTA FE AVE                     PO BOX 5008
  OKLAHOMA CITY, OK 73118                 CAROL STREAM, IL 60197-5008



  HARRISON & DUNCAN, PLLC                INTERNAL REVENUE SERVICE          * IRS
  8700 CROWNHILL, SUITE 505              P. O. BOX 7317                      P.O. BOX 7346
  SAN ANTONIO, TX 78209                  PHILADELPHIA, PA 19101-7317         PHILADELPHIA, PA 19101-7346




  JEFFERSON CAPITAL SYSTEMS              JEFFERSON CAPITAL SYSTEMS, LLC     JOE RIVERA
  P.O. BOX 7999                          PO BOX 772813                      PO BOX 1470
  ST. COULD, MN 56302                    CHICAGO, IL 60677-2813             WACO, TX 76703




  KIMP-AM/KALK-FM/KSCH-FM/KSCN-FM         LINEBARGAR GOGGAN BLAIR &         NAMAN, HOWELL, SMITH & LEE
 RADIO                                   SAMPSON LLP                        P. O. BOX 1470
  3355 LENOX RD NE SUITE 945              2777 N. STEMMONS FREEWAY SUITE    WACO, TX 76703-1470
  ATLANTA, GA 30326                      1000
                                          DALLAS, TX 75207



  NE TX COMM COLL DIST (TITUS)           NORTHEAST TX COMM COLL DIST        NPRTO TEXAS, LLC
  C/O LAURIE S. HUFFMAN                  2777 N. STEMMONS FREEWAY           256 WEST DATA DRIVE
  LINEBARGER GOGGAN BLAIR &              SUITE 1000                         DRAPER, UT 84020
 SAMPSON LLP                             DALLAS, TX 75207
  2323 BRYAN STREET., SUITE 1600
  DALLAS, TX 75201


  OVATION                                OVATION SERVICES LLC               OVERSTOCKCOM COMENITY
  PO BOX 4258                            8401 DATAPOINT SUITE 1000         BANKRUPTCY
  HOUSTON, TX 77210                      SAN ANTONIO, TX 78229              PO BOX 182125
                                                                            COLUMBUS, OH 43218-2125




  OZARK RENTALS                           OZARK RENTALS & INVESTMENTS      SZABO ASSOCIATES
  P.O. BOX 8805                          GROUP, LLC                        3355 LENOX ROAD NORTHEAST
  FAYATTEVILLE, AR 72703-0014             PO BOX 8805                      9TH FLOOR
                                          FAYETTEVILLE, AZ 72703           ATLANTA, GA 30326




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  TIM TAYLOR                            TITUS CO. HOSPITAL             TITUS COUNTY APPRAISAL DISTRICT
  PO BOX 1212                           PO BOX 512                     PO BOX 528
  MOUNT PLEASANT, TX 75456-1212         MT. PLEASANT, 75456            MT PLEASANT, TX 75456-0528




  TITUS COUNTY TAX COLLECTOR            TITUS COUNTY TAX OFFICE        UT SOUTHWESTERN MEDICAL
  110 S. MADISON SUITE A                105 W FIRST ST                 P. O. BOX 845347
  MT PLEASANT, TX 75455                 STE 101                        DALLAS, TX 75284-5347
                                        MOUNT PLEASANT, TX 75455




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